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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA           :
                                         Crim. No. 21-524 (JHR)
           v.                      :

JOHN GRIER III                     :     ORDER COMPELLING DISCOVERY


     This matter having come before the Court on the application

of the United States of America (Jason M. Richardson and Lindsey

R. Harteis, Assistant U.S. Attorneys, appearing) for an order

compelling discovery,

     IT IS ON this         day of September, 2023,

     ORDERED that the defendant provide all materials, evidence,

and information reviewed and relied upon by Emanuel Kapelsohn as

the bases for his opinions, all items requested in the

Government’s letter dated April 3, 2023, a supplemental list of

cases in which Kapelsohn has testified in the past four years

predating this Order, and that Kapelsohn sign and certify his

responses, including certifying where no disclosures are

provided that none are available, pursuant to Fed. R. Crim. P.

16 no later than September 20, 2023.




                                         HON. JOSEPH H. RODRIGUEZ
                                         U.S. District Court Judge
